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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA

 (1) UNITED STATES OF AMERICA, ex rel.              )
     UNITED STATES ENVIRONMENTAL                    )
     PROTECTION AGENCY,                             )
                                                    )
               Plaintiff,                           )
                                                    )
 v.                                                 )   Case No. 14-CV-471-GKF-TLW
                                                    )
 (1) H&R ENTERPRISES,                               )
 (2) HECTOR VILLASANA, individually and             )
     d/b/a H&R ENTERPRISES, and                     )
 (3) KIMBERLY VILLASANA, individually               )
     and d/b/a H&R ENTERPRISES,                     )
                                                    )
               Defendants.                          )

                                         COMPLAINT

        Plaintiff, the United States of America ex rel. the United States Environmental Protection

 Agency, by and through Danny C. Williams, Sr., United States Attorney for the Northern District

 of Oklahoma, and Assistant United States Attorney, Ryan L. Souders, for its Complaint against

 H&R Enterprises; Hector Villasana, individually and d/b/a H&R Enterprises; and Kimberly

 Villasana, individually and d/b/a H&R Enterprises, (collectively, the “Defendants”), alleges as

 follows:

                                      INTRODUCTION

        1.     This action seeks civil penalties under the 31 U.S.C. §§ 3729, et seq. (the “False

 Claims Act”). This action arises from the conduct of the defendants in knowingly and willfully

 making false claims to the United States to obtain a construction contract and the payment of

 money from the United States.
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                        JURISDICTION, VENUE, AND THE PARTIES

        2.      The United States brings this action on behalf of the United States Environmental

 Protection Agency (“EPA”), a federal agency, pursuant to 31 U.S.C. §§ 3729, et seq. (“False

 Claims Act”). This Court’s jurisdiction arises from 28 U.S.C. §1345 and 31 U.S.C. § 3732(a).

        3.      A substantial part of the events giving rise to the claims described in this

 Complaint occurred within the Northern District of Oklahoma. 28 U.S.C. § 1391.

        4.      The EPA administered funds for the construction project described in this

 Complaint.

        5.      At all times herein pertinent, Defendant H&R Enterprises was, and still is, a

 corporation, partnership, sole proprietorship and/or other business entity, duly organized and

 existing under and by virtue of the laws of one of the fifty states, doing business in the County of

 Tulsa, State of Oklahoma.

        6.      At all times described in this Complaint, Defendants Hector Villasana and

 Kimberly Villasana were, and are, individuals doing business as and acting with the knowledge,

 permission, and consent of H&R Enterprises.

                        VIOLATIONS OF THE FALSE CLAIMS ACT

        7.      Plaintiff incorporates here all of the allegations set forth in paragraphs one

 through six above.

        8.      In or about December 2009, Defendants submitted a bid on a construction project

 for painting and improving multiple storage tanks in the City of Dimmitt, Texas (the

 “Construction Project”), which was funded by the United States of America, and administered by

 the EPA.




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                a.      For the Construction Project to qualify for funding, the law required

                Defendants to submit documentation certifying that the manufactured goods

                Defendants would use on the Construction Projection were produced in the

                United States.

                b.      In violation of the False Claims Act, Defendants knowingly and in

                reckless disregard for the truth submitted forged and falsified documents (the

                “Fraudulent Documents”) falsely stating that the manufactured goods to be used

                on the Construction Project were produced in the United States.

        9.      In reasonable reliance on the false statements of the defendants, and each of the

 defendants, the Construction Contract was awarded to Defendants.

        10.     Defendants submitted the Fraudulent Documents to secure the contract for the

 Construction Project and thereby submitted a false claim in violation of the False Claims Act.

        11.     Pursuant to the False Claims Act, Defendants, and each of the defendants, jointly

 and severally, are liable to the United States for a civil penalty of not less than $5,500.00 and not

 more than $11,000.00 for their fraudulent acts as set forth in this Complaint.

                                     PRAYER FOR RELIEF

        WHEREFORE, the United States requests that the Court enter judgment against

 Defendants, and each of them, jointly and severally, as follows:

        1.      For a penalty between $5,500.00 and $11,000.00, pursuant to the False Claims

                Act;

        2.      For the costs of suit incurred herein;

        3.      For all interest allowed by law; and

        4.      For such other and further relief as the Court deems just and proper.




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 Dated August13, 2014.

                                     Respectfully Submitted,

                                     DANNY C. WILLIAMS, SR.
                                     United States Attorney

                                     s/Ryan L. Souders
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